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                                    UNITED STATES DISTRICT COURT
11                                NORTHERN DISTRICT OF CALIFORNIA

12   INNOVATION LAW LAB, et al.,                    CASE NO.: 3:19-CV-00807-RS

13                  Plaintiffs,                     PARTIES’ JOINT STATUS REPORT AND
                                                    REQUEST TO CONTINUE HOLDING
14                                                  ORDER TO SHOW CAUSE IN
                    v.                              ABEYANCE
15
     ALEJANDRO MAYORKAS, et al.,
16
                    Defendants.
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     PARTIES’ JOINT STATUS REPORT AND REQUEST TO CONTINUE HOLDING ORDER TO
                  SHOW CAUSE IN ABEYANCE, CASE NO. 3:19-cv-00807-RS
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     PARTIES’ JOINT STATUS REPORT AND REQUEST TO CONTINUE HOLDING ORDER TO
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            Plaintiffs Innovation Law Lab, et al., and Defendants Alejandro Mayorkas, et al., submit this
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 2   status report, and respectfully request that the Court continue to temporarily hold in abeyance the

 3   Order to Show Cause issued by this Court on August 6, 2021. See ECF #131. Doing so will give the

 4   parties time to continue to meet and confer regarding outstanding issues presented by the case.
 5          The Order to Show Cause directed Plaintiffs to respond, by August 16, 2021, as to why the
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     instant case should not be dismissed as moot. The Court previously granted the parties’ joint motion
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     to temporarily hold that deadline in abeyance to allow the parties to explore the possibility of
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     resolving this case without further litigation, and instructed the parties to submit a joint statement by
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10   August 30, 2021. See ECF #132 (motion); ECF #133 (Order). As explained in that motion, Plaintiffs

11   communicated to Defendants that they believe seven of the individual plaintiffs in this lawsuit

12   remain impacted by the Migrant Protection Protocols (“MPP”). ECF #132 at 2. Two are in ongoing
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     removal proceedings in this country, seeking review before the Board of Immigration Appeals of
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     removal orders they received after being placed in MPP; three are presently outside the country
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     pursuant to removal orders they received after being placed in MPP; and two are outside the country
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     after having withdrawn their applications for admission while under MPP. Id. at 2-3.
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18          Since that motion was filed, a federal district court in the Northern District of Texas held on

19   August 13, 2021, that Secretary Mayorkas’ June 1, 2021 rescission of MPP was illegal, vacated the
20   rescission, and issued a nationwide injunction. See Texas v. Biden, No. 2:21-cv-0067, 2021 WL
21
     3603341 (N.D. Tex. Aug 13, 2021), stay denied, Texas v. Biden, No. 21-10806 (5th Cir. Aug. 19,
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     2021), stay denied, Biden v. Texas, No. 21-A-21 (S.Ct. Aug. 24, 2021). Pursuant to the injunction,
23
     the Department of Homeland Security must “enforce and implement MPP in good faith.” See Fifth
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25   Circuit Order, No. 21-10806 (August 19, 2021) (internal quotation marks and citations removed,

26   emphasis in original).

27          The parties currently continue to meet and confer. An order holding the Order to Show Cause
28   in abeyance is therefore warranted.
                                        1
     PARTIES’ JOINT STATUS REPORT AND REQUEST TO CONTINUE HOLDING ORDER TO
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           Case 3:19-cv-00807-RS Document 135 Filed 08/30/21 Page 4 of 5



            Accordingly, the parties request that the Court continue the temporary abeyance of the
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 2   briefing deadline for the order to show cause. The parties propose to submit another joint statement

 3   two weeks from today, on September 13, 2021.

 4
      Dated: August 30, 2021                             Respectfully submitted,
 5

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 8    Director                                           Lee Gelernt*
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 9                                                       Daniel Galindo (SBN 292854)
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10    /s/ Erez Reuveni                                   IMMIGRANTS’ RIGHTS PROJECT
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     PARTIES’ JOINT STATUS REPORT AND REQUEST TO CONTINUE HOLDING ORDER TO
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          Case 3:19-cv-00807-RS Document 135 Filed 08/30/21 Page 5 of 5



                                       CERTIFICATE OF SERVICE
 1

 2          I hereby certify that on August 30, 2021, I electronically filed the foregoing with the Clerk of

 3   Court by using the District Court CM/ECF system. A true and correct copy of this motion has been

 4   served via the Court’s CM/ECF system on all counsel of record.
 5                                                                        /s/ Judy Rabinovitz
 6                                                                       Judy Rabinovitz

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     PARTIES’ JOINT STATUS REPORT AND REQUEST TO CONTINUE HOLDING ORDER TO
                  SHOW CAUSE IN ABEYANCE, CASE NO. 3:19-cv-00807-RS
